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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 20-CIV-21964-CMA

  SECURITIES AND             EXCHANGE
  COMMISSION,

          Plaintiff,

  v.

  TCA FUND MANAGEMENT GROUP
  CORP., et al.,

        Defendants.
  _________________________________/

       SECOND UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE REPLY IN
                 SUPPORT OF FIRST INTERIM DISTRIBUTION PLAN

          Jonathan E. Perlman, Esq., court-appointed Receiver (the “Receiver”) of the Receivership

  Entities,1 and the Securities and Exchange Commission (“SEC”), by and through undersigned

  counsel, hereby file this Second Unopposed Motion for Extension of Time to File Reply in Support

  of First Interim Distribution Plan (the “Motion”) and states as follows:

          1.      On February 28, 2022, the Receiver filed his Motion for Approval of Distribution

  Plan and First Interim Distribution (“the Distribution Plan”). [ECF No. 208].

          2.      Thereafter, on March 2, 2022, the Receiver filed his Unopposed Motion to Approve

  Deadline for Responses and Objections to Receiver’s Motion for Approval of Distribution Plan

  and First Interim Distribution, which this Court subsequently granted. [ECF No. 214, 215].

          3.      The order granting the Receiver’s Unopposed Motion to Approve Deadline for

  Responses and Objections to Receiver’s Motion for Approval of Distribution Plan and First


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    All terms not specifically defined herein have the meaning ascribed to them in the SEC’s Motion
  for Appointment of Receiver [ECF No. 3] and the Court’s Appointment Order [ECF No. 5], and
  the Court’s First Expansion Order [ECF No. 16].
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  Interim Distribution set forth certain deadlines, including an April 29, 2022 deadline by which

  interested parties must submit comments and responses to the Court and Receiver in connection

  with the proposed Distribution Plan. See [ECF No. 215].

         4.      The Receiver and SEC’s reply to the comments and responses to the Distribution

  Plan is currently due on or before June 6, 2022.

         5.      The Receiver has been working diligently to prepare his Reply in Support of the

  Distribution Plan. Despite good faith and reasonable efforts, the Receiver requires additional time

  to prepare Reply in Support of the Distribution Plan and a Motion for Approval of Amended

  Distribution Plan and First Amended Interim Distribution.

         6.      By way of this Motion, the Receiver seeks three (3) additional days, through and

  including June 9, 2022 to file his Reply in Support of the Distribution Plan and a Motion for

  Approval of Amended Distribution Plan and First Amended Interim Distribution.

         7.      Counsel for the Receiver conferred with the SEC and counsel for Ms. Eleanor

  Fisher and Ms. Tammy Fu, both of EY Cayman Ltd., as joint official liquidators (“JOLs”) over

  Receivership Entity Feeder Fund Ltd. regarding the extension of time sought by way of this

  Motion. Counsel for the JOLs advised that both the SEC and the JOLs consent to the requested

  extension.

         8.      This extension of time is made in good faith, will not unduly prejudice any of the

  parties, and is not sought for the purposes of delay.

         9.      Accordingly, for the good cause set forth above, the Receiver respectfully requests

  that this Court grant this Motion and grant the Receiver an extension of time through and including

  June 9, 2022 to file his Reply in Support of the Distribution Plan.




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         WHEREFORE, Receiver, Jonathan E. Perlman, and the Securities and Exchange

  Commission, by and through his undersigned counsel, respectfully requests this Court grant the

  Second Unopposed Motion for Extension of Time to File Reply in Support of First Interim

  Distribution Plan and extend the Receiver’s deadline to file his Reply in Support of First Interim

  Distribution Plan through and including June 9, 2022, and grant such other relief this Court deems

  just and proper.

                     S.D. Fla. L.R. 7.1(A)(3) CERTIFICATE OF CONFERENCE

         Undersigned counsel hereby certifies that counsel for the Receiver, Patrick Kalbac,

  conferred with counsel for the JOLs, Mark Bloom, on June 6, 2022, via email, regarding the

  requested relief and is authorized to represent that the JOLs have no objection to the relief

  requested herein.

                                                GENOVESE JOBLOVE & BATTISTA, P.A.
                                                Attorneys for Jonathan E. Perlman, Receiver
                                                100 Southeast 2nd Street, Suite 4400
                                                Miami, Florida 33131
                                                Telephone: (305) 349-2300
                                                Facsimile: (305) 349-2310

                                                By:    /s/ Patrick Kalbac
                                                        Greg M. Garno, Esq.
                                                        Florida Bar No. 87505
                                                        Patrick Kalbac, Esq.
                                                        Florida Bar No. 1011649
                                                        pkalbac@gjb-law.com

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF Notification

  to all parties and notification of such filing to all CM/ECF participants in this case on the 6th day

  of June, 2022.

                                                        /s/ Patrick Kalbac
                                                            Patrick Kalbac, Esq.


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                                     SERVICE LIST
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                               Case No. 20-Civ-21964-CMA

  Jean-Pierre Bado, Esq                        Attorneys for Plaintiff Securities and
  jbado@gjb-law.com                            Exchange Commission
  Paul Joseph Battista, Esq.                   James J. Webb, Esq.
  pbattista@gjb-law.com                        jwebb@mitrani.com
  Michael A Friedman, Esq.                     Mitrani, Rynor, Adamsky & Toland, P.A.
  mfriedman@gjb-law.com                        1200 Weston Road, PH
  Gregory M. Garno, Esq.                       Weston, FL 33326
  ggarno@gjb-law.com                           Attorneys for Interested Parties Krystal
  John H. Genovese, Esq.                       Lazares-Scaretta, Robert A. Scaretta and
  jgenovese@gjb-law.com                        American Gold Rush, LLC
  Brett M. Halsey, Esq.
  bhalsey@gjb-law.com                          Andrew Fulton, IV, Esq.
  Heather L. Harmon, Esq.                      andrew@kelleylawoffice.com
  hharmon@gjb-law.com
  Eric Jacobs, Esq.                            Brian S. Dervishi, Esq.
  ejacobs@gjb-law.com                          bdervishi@wdpalaw.com
  Elizabeth G. McIntosh, Esq.
  emcintosh@gjb-law.com                        Craig Vincent Rasile
  Jonathan Perlman, Esq.                       crasile@mwe.com
  jperlman@gjb-law.com
  Thaddeus Kleckley, Esq.                      Gerald Edward Greenberg, Esq.
  tkleckley@gjb-law.com                        ggreenberg@gsgpa.com
  Genovese Joblove & Battista, P.A.
  100 Southeast 2nd Street, Suite 4400         Gregg Alan Steinman
  Miami, Florida 33131                         gsteinman@sflp.law
  Attorneys for Jonathan E. Perlman,
  Receiver                                     Mark David Bloom, Esq.
                                               mark.bloom@bakermckenzie.com
  Andrew O. Schiff, Esq.
  schiffa@sec.gov                              Martha Rosa Mora, Esq.
  Stephanie N. Moot, Esq.                      mmora@arhmf.com
  moots@sec.gov
  801 Brickell Avenue, Suite 1950              Michael David Heidt, Esq.
  Miami, Florida 33131                         mheidt@aol.com




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